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                                     THE CITY OF NEW YORK
                                     LAW DEPARTMENT
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                                        NEW YORK, NY 10007
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                                                                                             (not for service)

                                                             August 2, 2018
Via ECF
Honorable Paul A. Engelmayer
United States District Court Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Carlson v. City of New York, et al., 17-CV-172 (PAE)

Dear Judge Engelmayer:

               I am the Assistant Corporation Counsel assigned to represent Defendant City of
New York and twenty-three individual defendants in the above-referenced action, in which
Plaintiff Marcela Carlson asserts various causes of action that allegedly arose from the death of
her ex-husband, Richard Gonzalez, while he was in the custody of the New York City
Department of Correction (“DOC”). Ms. Carlson initiated this suit as the administrator of Mr.
Gonzalez’s estate and as mother and next friend of Mr. Gonzalez’s son, A.G., who has since
reached the age of majority.

               I write on behalf of the parties to respectfully inform the Court that the parties
have reached a settlement in principle in this matter. Accordingly, the parties respectfully request
that the Court adjourn, sine die, all currently scheduled deadlines and appearances. The parties
expect to take steps to add A.G. as a party to this action and then to submit an executed
Stipulation of Settlement and Order of Dismissal to the Court for endorsement and filing within
the next four weeks.

               Thank you in advance for your consideration of this request.

                                                     Respectfully submitted,



                                                     /s/ Agnetha E. Jacob
                                                     Agnetha E. Jacob
                                                     Assistant Corporation Counsel
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cc:   David Bruce Rankin
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      Attorney for Plaintiff
      (via ECF)

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      Attorney for Defendant Correction Officers
         Chatham, Drake, and Henry
      (via ECF)




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